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U.S. Department of Justice

Federal Bureau of Prisons

 

Federal Prison Camp

Glen Ray Road, Box A
Alderson, West Virginia 24910

 

Office of the Warden
July 29, 2020
Shamekia Liptrot
22181-040
FPC Alderson
Glen Ray Road, Box A
Alderson, WV 24910
Re: Compassionate Release
Request
Dear Ms. Liptrot:

Your. Femest far Steen in
19 and”

 

(RTS) /Compassionate Release based on
“issues, received on July 13, 2020, Aas ~
been reviewed. “AFteY careful consideration, your request is denied. Please note
that RIS is a separate program from the changes to home confinement eligibility
in response to the Coronavirus Aid, Reliet, and Bconomic Security Act [CARES Act).

   

Title 18 of the United States Code, section 3582(c)(1){A), allows a sentencing
court, on motion of the Director of the Bureau of Prisons (BOP), to reduce a term
of imprisonment for extraordinary or compelling reasons. BOP Program Statement
No. 5050.50, Compassionate Release/Reduction in Sentence: Procedures for

Implementation of 18 U.S.C. §§ 3582(c) (1) (A) and 4205(g), provides guidance on
the types of circumstances that present extraordinary or compelling reasons, such
as the inmate’s terminal medical condition; debilitated medical condition; status
as a “new law” elderly inmate, an elderly inmate with medical conditions, or an
“other elderly inmate”; the death or incapacitation of the family member caregiver
of the inmate's child; or the incapacitation of the inmate’s spouse or registered
partner. Your request has been evaluated consistent with this general guidance.

The BOP is taking measures to contain the spread of COVID-19 and treat any affected
inmates. We recognize that you, like all of us, have legitimate concerns and fears
about the spread and effects of the virus. However, your concern about being
potentially exposed to, or possibly contracting, COVID-19 does not currently
warrant an early release from your sentence. Additionally, your medical records
have been evaluated to determine if you meet the criteria for any of the medical
related RIS categories. Your medical condition does not meet the criteria for
the categories as set forth in policy. Accordingly, your RIS request is denied
at this time.

You have the right to appeal this decision via the Administrative Remedy Procedure

as outlined in policy.
myn 5

oe ee Warden

ce: Unit Team
